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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA
                                    NEW ORLEANS DIVISION

RACHEL MADDOX, SHANNON MADDOX,       )
                                     )
                 Plaintiff,          )                                           CIVIL ACTION
       vs.                           )
                                     )                                           NO. 12-1641
INTEGRO USA, INC., INTEGRO INSURANCE )
BROKERS, CHRISTIAN CONGREGATION OF )                                             SECTION “N”
JEHOVAH’S WITNESSES, WATCHTOWER      )
BIBLE AND TRACT SOCIETY OF NEW YORK, )                                           MAGISTRATE (1)
INC., WESTWEGO CONGREGATION OF       )
JEHOVAH’S WITNESSES, INC., PATRICK   )
VICTOR, KATHY VICTOR                 )
                                     )
                 Defendants.         )

               CHRISTIAN CONGREGATION OF JEHOVAH’S WITNESSES’
                        MOTION FOR PROTECTIVE ORDER

         Defendant Christian Congregation of Jehovah’s Witnesses moves this Court for an order

under Fed R. Civ. Pro. 26(c) seeking protection from discovery of information of religious

practices, financial data concerning voluntary and anonymous donations to support religious

worship, and from harassing deposition questions into private religious matters of non-parties,

for the reasons in the Memorandum in Support and in the Opposition to Plaintiffs’ Motion to

Compel filed contemporaneously herewith.

Dated: 6 May 2013.
                                                               Respectfully submitted,
                                                               By /s/Ted M. Mitchell
                                                               Ted M. Mitchell       La. Bar No. 20964
                                                               2955 Ridgelake Drive, Suite 207
                                                               Metairie LA 70002-3618
                                                               504-236-3966 – voice
                                                               504-273-2220 – fax

                                            CERTIFICATE OF SERVICE
I hereby certify that a copy of the foregoing document has been electronically filed with the Clerk of Court using the
CM/ECF system this 6th day May 2013 and notice of this filing will be sent to all counsel of record by operation of
the court's electronic filing system or by mail.
                                                                                  /s/Ted M. Mitchell
